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VIA HAND-DELIVERY
Patrick Buchanan, Esquire
Mark Watts, Esquire
Brown Buchanan, P.A.
796 Vieux Marche’, Suite 1
Biloxi, MS 39533

Re: | McBay v. Harrison County, Mississippi, et al.
Civil Action No. 1:07¢v1205

Carrubba y. Harrison County, Mississippi, et al.
Civil Action No. 1:07¢v1238

Vanderburg v. Harrison County, Mississippi, et al.
Civil Action No. 1:08cv90

eo Seal-v. Harrison County, Mississippi, et al.
Civil Action No. 1:08cv175

Dear Mr, Buchanan and Mr. Watts:

As we discussed previously, the CD downloaded from Steve Campbell’s PC #1 provided
to us by the Harrison County Sheriff's Department did not have any videos on it. This CD did
contain a series of color photos, most of which were from Steve Campbell’s vacation. As we
discussed, there are color photos of two Harrison County Adult Detention Center inmates, one of
whom was a white male dressed in prison clothing and the other a black male inmate not in
prison clothing. Neither of these inmates were your clients. There was also a series of pictures
depicting an investigation of a Harrison County Sheriff's Department patrol deputy involved in a
shooting. Pursuant to our previous conversation, we are not providing the photos from this CD.

After viewing these photos, we reviewed the CD. with other sofiware and discovered that
there were numerous documents on this CD. These documents include Internal Affairs Investigation
Reports, and other documents which refer to the investigation of personnel matters, smuggling of

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contraband into the jail, and patrol division investigations, etc. Enclosed please find a copy of each
one of the documents from this CD, along with an index identifying same. Due to the sensitive and |
confidential nature of some of the information in these documents, please shred any documents you
do not believe are relevant and let me know which documents you believe are relevant and intend
to use at trial.

Very truly yours,
YL y oe C. Gewin
JCG/tam

Enclosures

cc: Cy T. Faneca
Haley N. Broom
